Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 1 of 18




                          Exhibit 14
     2014 Services Agreement Between
  OneBeaon Insurance Company, Armour
Risk Services (Bermuda) Limited, and others
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 2 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 3 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 4 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 5 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 6 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 7 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 8 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 9 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 10 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 11 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 12 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 13 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 14 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 15 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 16 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 17 of 18
Case 1:21-cv-11205-FDS   Document 182-14   Filed 01/06/25   Page 18 of 18
